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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 United States of America,                                    CR-94-0729(CPS)

       - against -
                                                              SENTENCING
 Jose Vega,                                                   MEMORANDUM

                         Defendant.

 ----------------------------------------X
 SIFTON, Senior Judge.

       Following a fourteen week jury trial in the Fall of 1995,

 defendant Jose Vega (“defendant”) was convicted of multiple

 charges, including conspiracy to distribute narcotics in

 violation of 18 U.S.C. §§ 841(b)(1)(A)(i) and 841(b)(1)(A)(iii).

 On August 6, 1996, I sentenced defendant to a total sentence of

 incarceration of life plus 90 years.          Now before this Court is

 defendant’s motion, pursuant to 18 U.S.C. § 3582(c)(2), to modify

 defendant’s sentence.      For the reasons set forth below,

 defendant’s motion is denied.1

                                  Background

       Defendant, together with co-defendants, was convicted on

 August 6, 1996, of one count of racketeering (count 1), in


       1
          On December 15, 2007, in a motion filed under the civil docket number
 (99-CV-3229) pertaining to defendant’s 28 U.S.C. § 2255 petition and received
 by the Court on January 2, 2008, defendant requested copies of correspondence
 from the government pertaining to the drug quantity attributed to him at
 sentencing and copies of legislation relevant to the amended United States
 Sentencing Guidelines. He also sought appointment of counsel to assist in
 seeking a modification of his sentence based on the changes to the guidelines.
 The undersigned responded on January 14, 2008, forwarding the letters sought,
 and appointed Sam A. Schmidt, Esq. to represent defendant in connection with
 this motion.
       Defendant’s counsel has submitted papers in support of defendant’s
 application to reduce his sentence.
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 violation of 18 U.S.C. §§ 1962(c) and 1963, one count of

 racketeering conspiracy (count 2), in violation of 18 U.S.C. §§

 1962(d) and 1963, one count of assault in aid of racketeering

 (count 42), in violation of 18 U.S.C. § 1959(a)(3), five counts

 of conspiracy to murder in aid of racketeering (counts 32, 33,

 37, 40, and 41), in violation of 18 U.S.C. § 1959(a)(5), three

 counts of using and carrying firearm for violent crime or

 narcotics trafficking (counts 35, 38, 43), in violation of 18

 U.S.C. § 924(c), one count of using and carrying a destructive

 device for violent crime (count 31), in violation of 18 U.S.C. §

 924(c), one count of arson (count 30), in violation of 18 U.S.C.

 § 844(i), one count of murder in aid of racketeering (count 34),

 in violation of 18 U.S.C. § 1959, and one count of conspiracy to

 distribute narcotics (count 44), in violation of 18 U.S.C. §§

 841(b)(1)(A)(i) and 841(b)(1)(A)(iii).2

       At defendant’s sentencing, I adopted the factual findings

 and guideline application of the Presentence Investigation Report

 (“PSR”) and the first Addendum to the PSR, dated July 1, 1996.

 Due to defendant’s multiple counts of conviction, “closely

 related” counts were grouped, pursuant to U.S.S.G. §§ 3D1.1-.5

 (1996).    Application of U.S.S.G. §§ 3D1.1-.5 (1996) resulted in a

 number of groups, as several of defendant’s counts of conviction


       2
          Defendant appealed his conviction, but the Second Circuit affirmed.
 See United States v. Mora, 152 F.3d 921 (2d Cir. 1998) (table of unpublished
 decisions).
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 were not “closely related.”

       The combined offense level for the various groups was then

 determined by applying U.S.S.G. § 3D1.4 (1996).3               The group with

 the highest base offense level, 43, was the group containing RICO

 Act 17A/17B4 and counts 33 and 34 (parts 1 and 2), relating to

 conspiracy to murder and the murder of Wayne Smith and the

 attempted murder of William Alestica.             RICO Act 1 was grouped

 with count 44, the narcotics conspiracy.              The adjusted offense

 level for this group was 40.          This offense involved 1.5 kilograms

 of cocaine base, producing a base offense level of 38, which was


       3
            U.S.S.G. § 3D1.4 (1996) provides:

       The combined offense level is determined by taking the offense
       level applicable to the Group with the highest offense level and
       increasing that offense level by the amount indicated in the
       following table:

                 Number of Units          Increase in Offense Level
           1                                        none
           1 1/2                                 add 1 level
           2                                     add 2 levels
           2 1/2-3                               add 3 levels
           3 1/2-5                               add 4 levels
           More than 5                           add 5 levels

       In determining the number of Units for purposes of this section:
       (a) Count as one Unit the Group with the highest offense level.
       Count one additional Unit for each Group that is equally serious
       or from 1 to 4 levels less serious.
       (b) Count as one-half Unit any Group that is 5 to 8 levels less
       serious than the Group with the highest offense level.
       (c) Disregard any Group that is 9 or more levels less serious than
       the Group with the highest offense level. Such Groups will not
       increase the applicable offense level but may provide a reason for
       sentencing at the higher end of the sentencing range for the
       applicable offense level.

       4
          The racketeering acts underlying defendant’s racketeering and
 racketeering conspiracy convictions (counts 1 and 2) were grouped with the
 corresponding counts which related to the same conduct. U.S.S.G. § 3D1.2
 (1996).
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 increased by two levels due to the possession of firearms.5

       Starting at offense level 43, the combined offense level for

 all the groups was increased by three levels to 46, pursuant to

 U.S.S.G. § 3D1.4 (1996).       The increase in the combined offense

 level was due in part to defendant’s conviction on the narcotics

 distribution conspiracy charge (count 44).               Since the adjusted

 offense level for the narcotics conspiracy was only three less

 than the level 43 attributed to defendant’s murder and conspiracy

 to murder convictions (counts 33 and 34), this offense was

 assigned one unit.      U.S.S.G. § 3D1.4(a) (1996).           Other counts

 were assigned a total of one and one-half units, resulting in a

 three-level increase in defendant’s combined offense level.                  Id.

 This combined offense level, together with defendant’s CHC,

 produced a guideline range of life for counts 1, 2,6 30, 32, 33,

 34, 37, 40, 41, 42 and 44.

       Counts 31, 35, 38, and 43 were expressly excluded from the

 grouping analysis, since they carried statutorily mandated

 consecutive sentences.      U.S.S.G. § 3D1.1(b) (1996); 18 U.S.C. §

 924(c)(1).    The mandated term for Count 31 was 30 years, to run


       5
          The second addendum to the PSR, dated April 25, 2008, and filed in
 connection with the present application, takes the position that defendant is
 accountable for 30 kilograms of heroin and 1.5 kilograms of crack. However,
 the first Addendum, whose findings I adopted, concluded that defendant was
 accountable only for the 1.5 kilograms of crack. The Second Addendum, as well
 as the government’s submissions, ignore this determination.
       6
          The offense level for defendant’s racketeering and racketeering
 conspiracy charges was determined by the offense level for the underlying
 racketeering acts. U.S.S.G. § 2E1.1(a)(2).
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 consecutively with any sentence imposed on other counts, and the

 mandated term for counts 35, 38, and 43 was 20 years, to run

 consecutively to each other and any sentence imposed on other

 counts.

       Accordingly, on August 6, 1996, I sentenced defendant to

 concurrent terms of life imprisonment on counts 1 (racketeering),

 2 (racketeering conspiracy), 33 (murder in aid of racketeering),

 and 44 (conspiracy to distribute narcotics).             I also imposed

 concurrent terms of 20 years on counts 30 and 42 and concurrent

 terms of 10 years on counts 32, 33, 37, 40, and 41.7 Finally, I

 imposed consecutive terms of imprisonment totaling 90 years on

 counts 31, 35, 38, and 43, as required by 18 U.S.C. § 924(c).

 Defendant’s total sentence of incarceration was life plus 90

 years.

       On November 1, 2007, Amendment 706, as further amended by

 Amendment 711, to U.S.S.G. § 2D1.1, Unlawful Manufacturing,

 Importing, Exporting, or Trafficking (Including Possession with

 Intent to Commit These Offenses); Attempt or Conspiracy, took

 effect.    Amendment 706 generally reduces by two levels the base

 offense levels applicable to crack offenses.             On December 11,

 2007, the United States Sentencing Commission (the “Sentencing

 Commission”) voted to apply the amendment retroactively to crack


       7
          The ten and twenty year concurrent terms are statutory maximums and
 for this reason are less than the life term set forth in the guidelines. See
 PSR at 34.
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 offenses, effective March 3, 2008.               The Sentencing Commission

 also promulgated amendments to Policy Statement § 1B1.10,

 Reduction in Term of Imprisonment as a Result of Amended

 Guidelines Range, which implements the retroactive application of

 Amendment 706, as amended by Amendment 711, effective March 3,

 2008.       On May 1, 2008, the Sentencing Commission further amended

 U.S.S.G. § 2D1.1.

         On March 20, 2008, the Court issued an order for the

 government to show cause why the defendant’s sentence should not

 be modified.         The government responded by letter dated April 10,

 2008.       Defendant submitted his response, through counsel, on May

 15, 2008.        The government replied on May 20, 2008.

                                      Discussion

         Pursuant to 18 U.S.C. § 3582(c)(2), the Court may modify the

 sentence of a defendant whose term of imprisonment was based on a

 sentencing range that has since been lowered by the Sentencing

 Commission.8        Because the Sentencing Commission voted to apply



         8
             18 U.S.C. § 3582 provides, in relevant part:

         Modification of an imposed term of imprisonment. –– The court may not
         modify a term of imprisonment once it has been imposed except that –- in
         the case of a defendant who has been sentenced to a term of imprisonment
         based on a sentencing range that has subsequently been lowered by the
         Sentencing Commission pursuant to 28 U.S.C. 994(o), upon motion of the
         defendant or the Director of the Bureau of Prisons, or on its own
         motion, the court may reduce the term of imprisonment, after considering
         the factors set forth in section 3553(a) to the extent that they are
         applicable, if such a reduction is consistent with applicable policy
         statements issued by the Sentencing Commission.

 18 U.S.C. § 3582(c)(2).
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 Amendment 706 retroactively, I may consider whether defendant’s

 sentence should be reduced.

       Defendant correctly argues that, because he is accountable

 for only 1.5 kilograms of crack, his base offense level for count

 44 was reduced by Amendment 706 from 38 to 36.9             U.S.S.G. §

 1B1.10, p.s, provides, however, that “a reduction in the

 defendant’s term of imprisonment is not consistent with this

 policy statement and therefore is not authorized under 18 U.S.C.

 § 3582(c)(2) if - . . . an amendment . . . does not have the

 effect of lowering the defendant’s applicable guideline range.”

 U.S.S.G. § 1B1.10(a)(2)(B), p.s.

       Because defendant’s combined offense level is determined by

 application of U.S.S.G. § 3D1.4, however, this reduction, while

 it lowers his combined offense level from 46 to 45,10 does not

 reduce his guideline range, which remains life.              As the amendment

 does not have the effect of lowering defendant’s guideline range,

 a reduction in defendant’s term of imprisonment is not



       9
          The government argues that defendant was not sentenced to a term of
 imprisonment based on a sentencing range subsequently lowered by the
 Sentencing Commission, as 18 U.S.C. § 3582(c)(2) requires. Due to the
 grouping of counts, however, defendant’s sentence in fact based on a range
 lowered by the Sentencing Commission although, as noted below, the amendment
 does not affect his ultimate guideline range.
       10
          Under U.S.S.G. § 3D1.4, defendant, based on his convictions,
 receives 2 units, rather than two and one-half. As defendant’s adjusted
 offense level for his narcotics conspiracy conviction is 38, rather than 40,
 only one-half unit is added, rather than an entire unit. Two units requires
 an increase of the base offense level of two levels, while two and one-half
 units required an increase of three levels. Thus, the base offense level of
 43 is increased only to 45 rather than 46.
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 authorized.    18 U.S.C. § 3582(c)(2); U.S.S.G. § 1B1.10(a)(2)(B),

 p.s.

        Moreover, defendant’s base offense level for RICO Act

 17A/17B and counts 33 and 34 (part 1), conspiracy to murder and

 murder of Wayne Smith, is 43, pursuant to the first degree murder

 guideline, U.S.S.G. § 2A1.1(a) (1996).           The recent amendments to

 U.S.S.G. § 2D1.1 have no effect on this guideline range.

 Therefore, defendant is subject to a term of life imprisonment

 independent of his conviction on the narcotics conspiracy charge,

 and a reduction in defendant’s sentence is not appropriate.

 United States v. Tyler, No. 01-CR-922 (JBW), 2008 WL 925126, at

 *2-3 (E.D.N.Y. Mar. 17, 2008) (declining to reduce sentence based

 on amendments to U.S.S.G. § 2D1.1 where defendant’s sentence

 resulted from application of U.S.S.G. § 2A1.1); United States v.

 Monroe, No. 98-CR-0017, 2008 WL 824304 (W.D.Pa. Mar. 26, 2008)

 (no reduction warranted under crack amendment where the offense

 level was based on a more serious murder charge, and remains

 unchanged); see also 18 U.S.C. § 3582(c)(2); U.S.S.G. §

 1B1.10(a)(2)(B), p.s.11

        Defendant argues that the Court is not constrained by the

 limitation in U.S.S.G. § 1B1.10(a)(2)(b), p.s.             This Court has

 recently addressed and rejected arguments that U.S.S.G. § 1B1.10,



        11
          Defendant is, of course, also subject to two other concurrent life
 sentences on counts 1 and 2.
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 p.s., is advisory only in cases such as this in which treating

 the guidelines as advisory would not result in a different

 sentence.    See United States v. Cruz, 2008 WL 539216 (E.D.N.Y.

 Feb. 27, 2008); United States v. Osuna, 2008 WL 1836943 (E.D.N.Y.

 Apr. 22, 2008).     Defendant further argues that U.S.S.G. § 1B1.10,

 p.s., is inconsistent with the plain language of 28 U.S.C. § 994

 because it does not further the purposes of sentencing set forth

 in 18 U.S.C. § 3553(a).      However, Congress has explicitly given

 the Sentencing Commission the power to promulgate “policy

 statements regarding application of the guidelines . . . [that]

 would further the purposes set forth in section 3553(a)(2) of

 title 18, United States Code, including the appropriate use of -

 the sentence modification provisions set forth in section[] . . .

 3582(c) of title 18.”      28 U.S.C. § 994(a)(2)(C).          Thus, U.S.S.G.

 § 1B1.10, p.s., is not inconsistent with 28 U.S.C. § 994.

 Moreover, U.S.S.G. § 1B1.10, p.s., does not limit a court’s

 ability to interpret § 3582(c)(2).12

       In all events, I would decline to reduce defendant’s

 sentence regardless of the limitations of U.S.S.G. § 1B1.10, p.s.

 Consideration of the factors set forth in § 3553(a), including



       12
          Defendant’s citation to Stinson v. United States, 508 U.S. 36, 38,
 44-45 (1993), is inapposite. In that case the Court held that “commentary in
 the Guidelines Manual that interprets or explains a guideline is authoritative
 unless it violates the Constitution or a federal statute, or is inconsistent
 with, or a plainly erroneous reading of, that guideline.” Id. at 38. For the
 reasons set forth in United States v. Cruz, 2008 WL 539216, at *5, Sixth
 Amendment concerns are not present in a § 3582(c)(2) proceeding.
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  the serious nature of the offenses, including murder, attempted

  murder, and arson, the need for deterrence, and protection of the

  public, leads me to conclude that the sentences imposed are

  appropriate.13

                                   Conclusion

        For the reasons set forth above, defendant’s motion is

  denied.14   The Clerk is directed to transmit a copy of the within

  to the parties and the assigned Magistrate Judge.

  SO ORDERED.

  Dated :     Brooklyn, New York
              May 29, 2008

                 By:     /s/ Charles P. Sifton (electronically signed)
                                  United States District Judge




        13
            I also note that I have discretion under 18 U.S.C. § 3582(c)(2) as
  to whether or not to reduce a defendant’s sentence, after considering the
  factors set forth in 18 U.S.C. § 3553(a). In addition to defendant’s pre-
  sentencing conduct, defendant has been sanctioned 44 times while incarcerated
  for violations ranging from being insolent to a staff member to assault with a
  dangerous weapon. This post-sentencing conduct further counsels against my
  reducing defendant’s term of imprisonment.
        14
           On March 25, 2008, under both his civil docket number and this
  docket, defendant wrote to the Court seeking a transfer to this district to
  confer with his attorney concerning his sentence reduction motion. I denied
  this motion without prejudice if defendant were to be found eligible for a
  sentence reduction. Defendant submitted an additional memorandum in support
  of his motion to transfer on March 30, 2008; he also requested that Mr.
  Schmidt be notified of his appointment. As defendant is not eligible for a
  sentence reduction for the reasons set forth above and because counsel
  received notification of his appointment, I deny this motion.
